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              (17-1) (Part 17-1) re Cover Letter to Judge Brown
        I~ C\.IRl<-'S OrF\Ct.
RECEI\JG~.o.c .. ,c.,t\anta            The Office of Ulysses T. Ware
                                               123 Linden Blvd., Ste 9-L
       ~~R \ ~ 1015                              Brooklyn, NY 11226
                  EIMER, C\erl<.                    (718) 844-1260
     l(E\/IN p. \N • ,.o~u\~ Cieri<.
                                                utware007@gmail.com
     s~:          ~

     ~                                       March 10, 2025, 12:12:38 PM

       The Honorable Michael L. Brown
       United States District Judge
       Northern District of Georgia
       Richard B. Russell U.S. Courthouse
       75 Ted Turner Drive, SW
       Atlanta, GA 30303

       Re: Ulysses T. Ware and Group Management v. Alpha Capital, AG, et al., Case No. 1:25-cv-
       00613-MLB-Appellants' Request for Rule 3.3 and Rule 8.4 Professional Responsibility and
       Duty of Candor Order, Appellate Status Conference, and Briefing Schedule.

       Dear Judge Brown:

       On behalf of Appellants, Ulysses T. Ware, and Group Management, I, Ulysses T. Ware, attorney
       in fact for the Appellants, respectfully submit the enclosed Appellants' Request for Rule 3 .3 and
       Rule 8.4 Professional Responsibility and Duty of Candor Order, Appellate Status Conference, and
       Briefing Schedule for consideration by this Honorable Court.

       This Request addresses a matter of paramount importance to the integrity of these appellate
       proceedings: the express ethical and professional responsibility obligations that attorney Appellees
       owe to this Court. As officers of the court and members of the bar, these Appellees are bound by
       a duty of complete candor, requiring them to be forthright and truthful in all representations
       made before this tribunal, particularly regarding issues that are dispositive to the instant appeal.
       This duty is not merely aspirational; it is a foundational principle essential to the fair and efficient
       administration of justice.

       The enclosed Request seeks to invoke this Court's inherent authority to ensure that all attorney
       Appellees fulfill their duty of candor to the District Court, 25cv00613 (NDGA). By directing the
       attorney Appellees to file sworn Certificates of Candor and by scheduling an appellate status
       conference, this Court can proactively address potential breaches of professional responsibility and
       ensure that the appellate record is grounded in truthfulness and accuracy. Such measures will
       demonstrably save and conserve valuable judicial resources by clarifying critical factual and legal

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assertions at the outset of these proceedings. Moreover, it will promote judicial efficiency by
focusing the appellate process on genuinely contested issues, rather than allowing it to be
encumbered by inaccuracies or misrepresentations. Ultimately, upholding the duty of candor
serves to protect the inherent integrity of these judicial proceedings and maintain public trust in
the legal profession and the courts.

As detailed in the Request, the Bankruptcy Court' s Order of Certification, March 7, 2025, Docket
Entry 296, provides a firm basis for the relief sought, establishing dispositive binding factual
judicial admissions that bear directly on the Appellees' prior conduct and representations. We
believe that the requested orders are not only warranted but are also essential to ensure the just and
proper resolution of this appeal.

We respectfully request that this Honorable Court grant the Appellants ' Request and take the
necessary steps to uphold the critical duty of candor in these appellate proceedings.

Respectfully submitted,

The Office of Ulysses T. Ware




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Rule 8.4 Professional Responsibility and Duty of Candor Show Cause
Order, Appellate Status Conference., and Briefing Schedulei-,LEDINCLERK'SOFFICE
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Isl By: Ulysses T. Ware for the Appellants
                                                                                               MAR 19 2025
                             UNITED STATES DISTRICT COURT                                    KEVIN P WEIMER. Clerk

                             NORTHERN DISTRICT OF GEORGIA                                   ~ r'J. 1 ~ t y Clerk
                                   ATLANTA DIVISION

                         Case No. 1:25-cv-00613-MLB
ULYSSES T. WARE and GROUP MANAGEMENT,
Appellants,

V.

ALPHA CAPITAL, AG, STONESTREET, L.P., MARKHAM HOLDINGS, L.P., AMRO
INTERNATIONAL, S.A., KILPATRICK, TOWNSEND & STOCKTON, LLP, DENNIS S.
MEIR, JOHN W. MILLS III, J. HENRY WALKER, IV, W AB KADABA, KENNETH A.
ZITTER, ARIE RABINOWITZ, LH FINANCIAL SERVICES CORP., KONRAD
ACKERMANN, JOSEPH HAMMER, TRAILBLAZER MERGER CORP. I, WENDY L.
HAGENAU, JAMES H. MORA WETZ, THE OFFICE OF THE U.S. TRUSTEE, REGION
21, MARY IDA TOWNSON, JENEANE TREACE, M. REGINA THOMAS, PATRICIA
SINBACK, MARGARET H. MURPHY, JOYCE BIHARY, COLEMAN RAY MULLINS,
SECURITIES AND       EXCHANGE COMMISSION, FINANCIAL INDUSTRY
REGULATORY AUTHORITY (FINRA), BARBARA ELLIS-MONRO, MARCIA E.
ASQUITH, ROBERT L.D. COLBY, ROBERT W. COOK, EMMA JONES, SARAH
JEFFRIES, THE ST ATE BAR OF GEORGIA, OFFICE OF THE GENERAL COUNSEL,
WILLIAM D. NESMITH Ill, PAULA FREDERICK, LEIGH BURGESS, WILLIAM
ALAN MYERS, ADRIENNE NASH, JENNY MITTLEMEN, JONATHAN HEWETT,
PATRICKN. ARNDT, MICHAEL D. HOSTETTER, NALL & MILLER, LLP, MANIBUR
S. ARORA, EDWARD T. M. GARLAND, MICHAEL F. BACHNER, DAVID B. LEVITT,
DONALD F. SAMUEL, JANICE SINGER, ALEXANDER H. SOUTHWELL, THOMAS
W. THRASH, JR., MICHAEL P. BOGGS, THOMAS A. LEGHORN, LAWRENCE B.
MANDALA, BAKER & MCKENZIE, LLP, ROBERT H. ALBARAL, JOHN F. KING,
AND OFFICE OF THE GEORGIA INSURANCE COMMISSIONER, JOHN DOES
INSURANCE                        COMPANIES                      ##1-5,
Appellees.




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CERTIFICATE OF CANDOR TO THE COURT; AND (2) A RULE
8.4 DECLARATION ADMITTING TO DENYING VIOLATIONS
OF RULE 8.4.
TO THE HONORABLE COURT:

A.      Requested Reliefs.
        Appellants Ulysses T. Ware and Group Management (collectively, "Appellants"), by and

through undersigned attorney-in-fact, respectfully move this Court for entry of an Order:


        (i)     requiring all attorney Appellees to submit a sworn affirmative certification pursuant

to the District Court (NDGA), State Bar of Georgia, or the ABA Model Rule 3.3-Candor Toward

the Tribunal-and Rule 8.4 (fraud, deceit, misrepresentation, and deception) specifically attesting

to their compliance with the Rules of Professional Conduct;


        (ii)    for a pre-briefing appellate status conference between the Court and the parties; and


        (ii)    entry of an appellate briefing schedule.


        This request is predicated on the Bankruptcy Court's Order of Certification, Dkt. 296, dated

March 7, 2025, and Appellees' indisputable binding judicial admissions established therein, Dkt.

513 and Dkt. 5-14. This request is brought after Appellants ' multiple, yet unavailing, attempts to

informally resolve concerns regarding potential breaches of candor with the Appellees, in the

salutary interests of judicial efficiency, judicial economy, and to preserve the inherent integrity of

these judicial proceedings. In support thereof, and to address ostensible, egregious, and material

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violations of the Georgia Bar Association, American Bar Association ("ABA"), and this District

Court' s Rules of Professional Conduct, Rule 3.3, Appellants state as follows:


B.      Opening statement.

Purpose of This Motion. Appellants submit that the attorney Appellees have engaged in a

sustained pattern of making material misrepresentations, misstatements or omissions in briefs and

declarations submitted to the Bankruptcy Court (NDGA). Such conduct implicates attorneys' duty

of candor under ABA Model Rule 3.3, as well as Rule 8.4 (fraud, deceit, misrepresentation, and

deceit), 28 U.S.C. § 1927 (governing vexatious litigation), and the Court' s inherent supervisory

powers.


        To promote judicial efficiency and economy, and to safeguard the integrity of the

record and the judicial process itself, Appellants seek an Order directing all Appellee attorneys

to file a sworn certificate of candor attesting to the veracity of factual and legal assertions made in

these proceedings, and affirming that any inaccuracies, omissions, or misrepresentations have been

timely corrected. Critically, this Motion is further compelled and directly supported by the

Bankruptcy Court's Order of Certification, Dkt. 296, dated March 7, 2025, which establishes

Appellees' binding judicial admissions of critical facts demonstrating violations of Rule 3.3

and Rule 8.4. This Motion is further necessitated by Appellees' complete and unyielding failure

to respond to Appellants' multiple good-faith attempts to informally "meet and confer" regarding

these profound and consequential candor issues.




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This Request is not about rel~tigating the merits of the bankruptcy case but about addressing the

ethical obligations of attorney Appellees to be candid with the Court, particularly in light of the

Bankruptcy Court's Certification Order. This Request is narrowly tailored to address the critical

issue ofattorney candor and professional responsibility in the appellate proceedings and to ensure

the integrity of the judicial process before this Honorable Court."




I. INTRODUCTION

    1. Nature of the Proceeding. This matter arises from a complex Chapter 11 proceeding (In

        re Group Management Corp., No. 03-93031, Bankr. N.D. Ga.) and related litigation in the

        Southern District of New York (Group Management Corp., Ware, et al. v. Alpha Capital

        Aktiengesel/schaft, et.al., Case No. 02 Civ. 2219 (LBS)). The instant appeal, 25cv00613

        (NDGA), presents numerous factual and legal questions regarding both the underlying

        bankruptcy case and the alleged misconduct of Appellees whose attorneys are also subject

        to the District Court (NDGA) Rules of Professional Conduct and Ethics, Rules 3.3 (duty

        of candor to the tribunals) and Rule 8.4 (fraud, deceit, misrepresentation, and deception).

    2. Purpose of This Request. Appellants submit that the attorney Appellees have engaged in

        a sustained pattern of making material misstatements or omissions in briefs and

        declarations submitted to the Bankruptcy Court (NDGA) and this Court. Such conduct

        implicates attorneys' duty of candor under ABA Model Rule 3.3, as well as Rule 8.4

        (fraud, deceit, misrepresentation, and deceit), 28 U.S.C. § 1927 (governing vexatious

        litigation), and the Co).lrt's inherent supervisory powers.




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    3. To promote judicial efficiency and economy, and to safeguard the integrity of the

        record and the judicial process itself, Appellants seek an Order directing all Appellee

        attorneys to file a sworn certificate of complete candor attesting to the veracity of factual

        and legal assertions made in these proceedings, 0kt. 5-2, 5-3 , 5-4, 5-5, and 5-6, and affirm

        that any inaccuracies, false statements, or other misrepresentations have been timely

        corrected.

    4. Critically, this request is further compelled and directly supported by the Bankruptcy

        Court's Order of Certification, 0kt. 296, dated March 7, 2025 , which establishes

        Appellees ' binding judicial admissions of critical facts demonstrating violations of Rule

        3 .3 and Rule 8.4, cf. , 0kt. 5-13, Dkt. 5-14, and Dkt. 5-16.

    5. This request is further necessitated by Appellees ' complete and unyielding failure to

        respond to the Appellants' multiple good-faith attempts to informally "meet and confer"

        regarding these profound and consequential candor issues as ordered by this Court's

        standing order, Dkt. 2, directives. See Appellants ' Declaration, infra.

    6. This Court, in its appellate capacity, retains inherent Article III supervisory authority to

        address misconduct occurring in the underlying 03-93031 bankruptcy proceedings that

        impact the integrity of the appellate record and the fairness of the appellate process.


II. FACTUAL BACKGROUND

    1. Commencement of the Bankruptcy Case. On or about March 18, 2003 , Debtor (former

        Group Management Corp.) commenced a voluntary Chapter 11 case in the United States

        Bankruptcy Court for the Northern District of Georgia (Case No. 03-93031 ). The principal

        impetus for filing the 03-93031 Chapter 11 was to eliminate the constant harassment and

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        threats of violence and bodily harm then being made on a daily basis made byAppellees

        Kenneth A. Zitter, Leonard B. Sand, Edward M. Grushko, and Arie Rabinowitz-made

        on a daily basis to the Debtor's counsel, Appellant Ulysses T. Ware, Esq., regarding the

        Hobbs Act extortion, 18 USC § 1951(a), 18 USC §§ 1961(6)(B), and 1962(a-d)

        racketeering collection activities with respect to the predatory criminal usury convertible

        promissory notes, GX 1-4; and (ii) the then ongoing, likely to become deadly, violent

        dispute with the unregistered broker-dealers alleged "creditors" (e.g., Alpha Capital, AG;

        Stonestreet, L.P. ; Markham Holdings, L.P.; Amro International, S.A.) concerning

        predatory unlawful debt, criminal usury convertible notes, GX 1-4, and GX 5 (the criminal

        usury so-called subscription agreement), collection activities,jointly, (the "Moot and Void

        ab Initio Subject Matter") and a null and void ab initio Contempt Order (GX 11)

        fraudulently entered by the 02cv2219 (SDNY) district court (Sand, J.) (deceased) while

        lacking all Article III jurisdiction over the criminal usury subject matter, GX 1-4, and GX

        5, on March 13, 2003 (Dkt. 5-3, Doc. 13). 1

    2. That is why the Debtor, Group Management Corp., filed the Chapter 11 case in good faith,

        and to reorganize without the illegal pressure of the unindicted co-cosnspirators' -

        Appellees' ~aily threats ofgraphh;bodilv harm and extreme racially-motivated violenc~



1
  18 USC §§ 2, 152, 157, 371, 1341 , 1343, 1344, 1951(a), 1961(6)(B), and 1962(a-d}-a pattern of
racketeering activities, criminalized the unlawful collection activities in the 03-93031 Chapter 11 case
criminally and unethically in bad faith conducted by Appellees KTS, Dennis S. Meir, John W . Mills, III,
James H. Morawetz, Kenneth A. Zitter, Arie Rabinowitz, the Office of the U.S. Trustee, Region 21, the
02cv2219 (SDNY) plaintiffs named in Dkt. 5-2 (KTS' entry of appearance).

2
  See Dkt. 5-13 at pages 55-56; 57, and 58 for the Hobbs Act extortion unlawful debt collection activities,
racially-motivated hate crime threats, threats of violence, and false imprisonment made by Appellees and
their agents, including Kenneth A. Zitter, Esq. who appeared in the District Court (NDGA) (Thrash, J.) on

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         being inflicted on Group Management Corp., legal counsel, Appellant Ulysses T. Ware,

        Esq.

    3. Appellees' Role and Assertions. Several of the Appellees, particularly attorneys

        associated with Kilpatrick Townsend & Stockton, LLP (formerly Kilpatrick Stockton

        LLP), fraudulently appeared in the Chapter 11, Dkt. 5-2 on Apr. 10, 2003, on behalf of the

        unregistered broker-dealers, misrepresenting the facts that each alleged "creditor" was, in

        fact, (i) an unregistered broker-dealer, (ii) 15 USC§ 78p(b) statutory insider (fiduciary) of

        the Chapter 11 Debtor required by law to immediately turnover and disgorge to the Chapter

         11 estate +$522 million in strict-liability sort-swing insider-trading profits, pursuant to 11

        USC 542(a), and (iii) filed manifestly frivolous , bad faith, vexatious, legally and factually

        baseless, and fraudulent emergency motions in the bankruptcy case seeking to dismiss or

        convert the bankruptcy for alleged bad-faith filing, or to lift the automatic stay-that is, 18

        USC§§ 1951(a), 1961(6)(B), and 1962(a-d) predatory criminal usury unlawful debt, GX

        1-4, collection activities, see Grote, 961 F.3d at 105, 109. See, e.g., (i) Dkt. 5-5 (Doc. 15)

        (Emergency Motion to Dismiss); (ii) Dkt. 5-6 (Doc. 16) (Brief in Support).

    4. In support, they deliberately and in bad faith misrepresented to the Bankruptcy Court that

        the Debtor had "no legitimate reorganizational purpose," 3 had engaged in "egregious




Sept. 9, 2004, in furtherance of the 18 USC§ 1961(6)(B) unlawful debt collection activities associated with
GX 1-4, and GX 5.

3 The valid,
              and legitimate Chapter 11 Debtor's reorganizational purpose was to, (i) rid itself of the
predatory, criminal usury unlawful debts, GX 1-4, cf., Diet. 5-4 (KTS ' frivolous, bad faith, vexatious,
baseless in law and in fact, and filed for an improper purpose in violation of Rule 9011 (b )( 1-4) opposition
to the Appellants' motion to reject executory contracts, GX 1-4, and GX 5), and (ii) seek disgorgement and
11 USC§ 542(a) turnover to the Chapter 11 estate, 11 USC§ 542(a), +$522 million in strict-liability short-
swing profits derived by the Appellees from the illegal insider trading in the equity securities of the Chapter

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        delay," and that the moot and void ab initio S.D.N.Y. Contempt Order was final in nature.

        It was not. Notwithstanding the mootness of the alleged contempt order.

    5. Appellees' Inaccuracies Concerning the S.D.N.Y. Orders. The attorney Appellees

        (Meir, Mills, and Morawetz) repeatedly asserted that (1) the March 13, 2003 order in Alpha

        Capital Aktiengesellschaft v. Group Management Corp. was a conclusive final order

        imposing unconditional liability on the Debtor's principals and (2) that no further

        proceedings were pending in the S.D.N.Y. action. However, the actual text of the March

        13, 2003 order (GX 11) reflects it was partially interlocutory, allowing further compliance

        or modification by the District Court, and moreover has as of Dec. 20, 2007, Dkt. 90, been

        voluntarily annulled. set aside. vacated. and vitiated nunc pro tune by Appellees (the

        02cv2219 plaintiffs and their legal counsel, Appellee Kenneth A. Zitter, Esq.) pursuant to

        Fed. R. Civ. P. 4J(a)(2) after the statute of limitation had run on all claims in the

        02cv2219 (SDNY) complaint. See (Dkt. 5-3, Doc. 13, attaching GX 11). These

        fundamental and material misrepresentations, and inaccuracies were and have never been

        corrected in the Bankruptcy Court or here on appeal.

    6. Appellees' Bad faith Misstatements about Debtor's Assets and Operations. In various

        filings, attorney Appellees contended that the Debtor had "virtually no assets" and "no

        ongoing business." (See e.g., Dkt. 5-4, Doc. 14; Dkt. 5-6, Doc. 16). But the Appellants'

        investigations have identified at least $5 .225 billion in potential insurance policies claims

        for racketeering unlawful debt collection activities, 18 USC § 1961 (6)(B), fraud,




11 Debtor by Appellee KTS ' unregistered broker-dealer clients, see Dkt. 5-2, and Dkt. 5-13 on pages 44-
45 .

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        conspiracy, unjust enrichment, intentional infliction of emotional distress, and other

        racketeering insurance torts, insurance frauds, bank fraud, etc. in regard to the unlawful

        collection activities with respect to GX 1-4, the criminal usury unlawful convertible

        promissory notes,       plus   potential claims-15         USC     §78p{b)ll 1    USC     §542(a)

        disgorgement/turnover of +$522 million of short-swing insider-trading profits, that

        would have been used to fund a plan ofreorganization (Dkt. 5-17, docket printout from

        03-93031 ). The attorney Appellees apparently completely omitted or minimized that

        information, misleading the bankruptcy court about the viability of any reorganization.

    7. Appellees' Mischaracterization of the Bankruptcy Dismissal Rationale. On May 21,

        2003, the Bankruptcy Court (Murphy, J.) fraudulently dismissed the Debtor's Chapter 11

        case with prejudice based on the bad faith, fraudulent, and deceptive misrepresentations

        made by Appellees Meir, Mills, and Morawetz in filing in the bankruptcy court, to wit:

        Dkt. 5-3, 5-4, 5-5, and 5-6. (Doc. 28). (Dkt. 5-14, 5-15).

    8. Bankruptcy Court Certification of Joint Stipulated Appellate Record (Dkt. 296 &

        296A). On March 7, 2025, the Bankruptcy Court issued Docket Entry 296 and Attachment

        296A, formally judicially certifying the Rule 8009( d) Joint Stipulated Appellate Record

        encompassing Docket Entries 292,293, and 294 (Dkt. 5-13, 5-14, and 5-16, respectively).

        This judicial certification, explicitly confirming the "accuracy and completeness" and

        veracity of the Joint Stipulated Appellate Record, constitutes a definitive judicial

        determination of the veracity of the factual record for this appeal. Critically, and as

        further detailed below, Appellees' stipulation to the facts contained within this

        judicially certified record, without any good faith or nonfrivolous challenge thereto,



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        operates as binding judicial admissions of those facts binding on the Appellees in all

        subsequent proceedings. See Hoodho v. Holder, 558 F.3d 184, 191 (2d Cir. 2009).

    9. The Instant Appeal. Appellants timely appealed related orders, Doc. 278 and 286. In other

        proceedings U.S. v. Ware, 04cr1224 (SONY), In re Ware, (2008) State Bar of GA

        disbarment proceedings, Appellees, 4 and attorney Appellees have filed or referenced

        statements that conflict with the Joint Stipulated Appellate Record facts, see Dkt. 5-13, 5-

        14, and 5-16, including: ( 1) deliberately and in bad faith mischaracterizing and

        misrepresenting the scope of frivolous and fraudulent alleged contempt in the S.D.N.Y.

        proceeding, (March 13, 2003, order), (2) misstating the posture of the Bankruptcy Court's

        concern about possible conflicts of interest among counsel, (3) deliberately, in bad faith,

        and fraudulently misrepresentations regarding the predatory criminal usury nature of GX

        1-4, and GX 5, (4) deliberately, bad faith, and fraudulently misrepresentation and

        omissions regarding the lack of Article III standing of Appellee KTS' clients, Dkt. 5-2,




4
  Appellants respectfully assert that, during the 2007 proceedings in United States v. Ware, Case No. 04-
cr-1224 (S.D.N.Y.), Appellees Kenneth A. Zitter, Esq. and Arie Rabinowitz knowingly provided false
testimony and committed perjury regarding the unregistered broker-dealer, fiduciary, and statutory insider
status of KTS's clients in 03-93031-who were plaintiffs in 02-cv-2219 (SD.NY.) (see Dkt. 5-2).
Furthermore, these Appellees-acting with the knowledge and consent of AUSAs Alexander H. Southwell,
Nicholas S. Goldin, Sarah E. Paul, Katherine Polk-Failla, Margaret Garnett, and Maria E. Douvas-
knowingly and in bad faith offered perjured statements concerning the purported lawfulness of GX 1-4 and
GX 5. Specifically, they (Zitter and Rabinowitz) knowingly and in bad faith lied, committed perjury, and
deliberately misrepresented the enforceability and collectability of what amounted to predatory criminal
usury unlawful debts, the collection of which violated 18 U.S.C. §§ 195 l(a) and 1961(6)(B), ipso facto, as
interpreted by United States v. Grote, 961 F.3d 105, 109. Finally, Appellants contend that these acts of bad
faith lying and perjury were carried out in bad faith, again with the knowledge and consent of the AUSAs,
particularly as they relate to critical actual innocent Brady exculpatory and impeachment evidence
establishing the unregistered broker-dealer (25cv00613 (NDGA) 0kt. 5-13 at page 48), fiduciary, and
statutory insider status (Dkt. Id. at pages 44-45) of Appellee KTS's clients (see Dkt. 5-2).


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        unregistered broker-dealers certified by FINRA's senior executive Marcia E. Asquith,

        Esq. on May 17, 2021, (see 0kt. 5-13 at page 48). 5


III. LEGAL ARGUMENT

A. Authority of This Court to Order a Sworn Certificate of Candor

    1. Inherent Power of Federal Courts. Federal courts possess the inherent authority to

        regulate practice before them, including ensuring (i) the ethical conduct of counsel and

        (ii) safeguarding the integrity of the judicial process. Chambers v. NASCO, Inc., 501

        U.S. 32, 43-45 (1991). Requiring Appellees (that are lawyers) to file a sworn certificate

        confirming actual compliance with Rule 3.3 and Rule 8.4 is a measured and appropriate

        exercise of this inherent power, particularly in circumstances where, as here, there are clear

        and convincing, and substantial indicia of potential ethical, unprofessional , and criminal

        breaches of federal and state racketeering law by Appellees KTS, its unregistered broker-

        dealer clients, and others lawyers, involved directly and/or indirectly in the proceedings.6


5
  15 USC § 78cc(b) rendered all alleged contracts, GX 1-4, and GX 5 entered into or performed in violation
of the 1934 Act null and void ab initio to the rights of the unregistered broker-dealers- that is, ipso facto
as a matter of law Appellees 02cv22 l 9 (SDNY) lawsuit plaintiffs lacked Article III standing to have (i)
filed the 02cv22 l 9 (SDNY) lawsuit, and (ii) lacked a lawful claim to have appeared in 03-93031 Chapter
11 as bona fide creditors seeking to collect predatory criminal usury unlawful debts, GX 1-4, in violation
of federal racketeering laws, 18 USC §§ 2, 152, 157, 371, 924(c), 1201-02, 1341, 1343, 1344, 1503,
195l(a), 1956-57, 1958-59, 1961(6)(B), and 1962(a-d), a pattern of racketeering activities to collect
predatory criminal usury unlawful debts, GX 1-4, criminally sanctioned in U.S. v. Grote, 961 F.3d at 105,
109.
6
 Dkt. 5-1 to 5-6, are binding judicial admissions made in pleadings by lawyers (Meir, Mills, and Morawetz)
that implicitly and expressly judicially admitted, and conceded violation of federal racketeering laws, 18
USC§§ 2,152,157,371, 924(c), 1201-02, 1341, 1343, 1344, 1503, 1951(a), 1956-57, 1958-59, 196l(b)(6),
and 1962(a-d}-that is, a pattern of unlawful debt collection activities regarding the predatory criminal
usury unlawful debts, GX 1-4, referenced in Dkt. 5-5. Attorneys involved in the racketeering criminal
enterprise include, but not limited to Kenneth A. Zitter, Edward T.M. Garland, Manibur S. Arora, Donald
F. Samuel, Janice Singer, Michael F. Bachner, David B. Levitt, William D. NeSmith, III, Russell Willard,
Paula Frederick, James H. Morawetz, Jeneane Treace, Mary Ida Townson, Dennis S. Meir, John W. Mills,

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    2. Potential Sanctions Under 28 U.S.C. § 1927. Where an attorney's conduct multiplies

        proceedings unreason.ably or vexatiously, that attorney may be required to personally

        satisfy the excess costs incurred. Roadway Express, Inc. v. Piper, 447 U.S. 752 (1980).

        The presentation of demonstrably misleading or materially incomplete facts to a court, as

        alleged herein, see Dkt. 5-2, 5-3, 5-4, 5-5, and 5-6, inevitably results in unnecessary motion

        practice, increased costs, and a protracted and inefficient resolution of legal disputes, thus

        squarely meeting the statutory standard for vexatious multiplication under 28 U.S.C. §

        1927.


B. Duty of Candor Under ABA Model Rule 3.3 and Rule 8.4

    1. Scope of Rule 3.3 and Rule 8.4. ABA Model Rule 3.3(a) and its Georgia and District

        Court counterparts provide that a lawyer shall not knowingly make a false statement of

        fact or law to a tribunal or fail to correct a false statement of material fact or law previously

        made. Complementary to Rule 3.3, ABA Model Rule 8.4, also adopted in Georgia and

        applicable in this District Court, explicitly prohibits attorney conduct involving

        dishonesty. fraud, deceit, or misrepresentation. These rules are not mere aspirational

        guidelines, but rather, impose mandatory and foundational ethical obligations upon all

        attorneys practicing before this Court, designed to ensure the integrity of the judicial

        process and to promote the fair and efficient administration of justice.




III, J. Henry Walker, IV, Wab Kadaba, Patrick N. Arndt, Michael D. Hostetter, Alexander H. Southwell,
Leigh Burgess, William Alan Myers, Jonathan Hewett, Jenny Mittlemen, Andrienne Nash, and others both
known and unknown, an ongoing illegal association in fact as defined in 18 USC§ 1961(4).

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    2. Materiality of Appellees' Misrepresentations and Binding Judicial Admissions. The

        documented, judicially certified, and judicially admitted material and bad faith

        inaccuracies, misrepresentations, lies, frauds, perjury, and omissions detailed above

        concern demonstrably material facts: the finality and scope of the S.D.N.Y. order, the

        Debtor's assets and prospects for reorganization, the reasons for the Chapter 11 filing, and

        the true and complete rationale underlying the Bankruptcy Court's dismissal. Each of these

        factual matters is consequentially material to the core issues in this appeal, including

        whether the Debtor a~ted in bad faith, the propriety of Bankruptcy Court jurisdiction, the

        Article III standing of Appellee KTS' client, Dkt. 5-2, the unregistered broker-dealers

        attempting to collect predatory criminal usury unlawful debts, GX 1-4, in criminal

        violation ofNYS Penal Law, § 190.40, a class E felony, and federal racketeering law, 18

        USC §§ 1951(a), 1961(6)(B), and 1962(a-d), and the legitimacy of Appellees' claims

        against Appellants.

    3. Continuing Duty to Correct. Even if an attorney initially relied on incomplete or

        inaccurate information, they have a continuing duty to correct false or misleading

        statements once they become aware of them. The bankruptcy court's record shows no such

        corrections by Appellees.


        Critically, and directly relevant to the instant Motion, the Bankruptcy Court's Rule 8009(d)

Certification Order, Dkt. 296 & 296A, now establishes Appellees' binding judicial admissions,

stipulations, and concession of the factual accuracy, veracity, and completeness of the Joint

Stipulated Appellate Record (Dkts. 292, 293, 294). By stipulating to the factual content of this

Record, and by failing to raise any good faith or nonfrivolous objection or challenge to its accuracy


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and completeness before the Bankruptcy Court, each Appellee has knowingly, willfully,

intentionally, and expressly admitted, conceded, and judicially stipulated to the veracity of

the factual predicates contained within the Joint Stipulated Appellate Record.


C. Binding Effect of Judicial Admissions: Hoodho v. Holder and Adelphia Recovery Trust
v. Goldman, Sachs & Company.

    1. Binding Nature of Judicial Admissions: Hoodho v. Holder. The Second Circuit Court

        of Appeals, in Hoodho v. Holder, 558 F.3d 184, 191 (2d Cir. 2009), has definitively

        articulated the binding legal effect of judicial admissions, holding that "the parties 'Judicial

        admissions are binding on the parties and the court and cannot be challenged or changed."

        Hoodho directly establishes that factual statements (0kt. 5-13, 5-14, and 5-16)

        unequivocally conceded and stipulated to by a party in the course of judicial proceedings

        are not mere evidentiary concessions, but rather, constitute irreversible and binding

        iudicial admissions that foreclose any subsequent contrary assertions or factual

        disputes .7




7
  In the controlling precedent of Hoodho v. Holder, 558 F.3d 184, 191 (2d Cir. 2009), the Second Circuit
held that unequivocal concessions made on the record become conclusive iudicial admissions,
irrevocably binding both litigants and the court. (emphasis added). Similarly, in Adelphia Recovery Trust
v. Goldman, Sachs & Co., the court emphasized that factual stipulations, once intentionally and clearly
placed before the tribunal, preclude any subsequent contradictory assertions. These authorities confirm that
Appellees' statements in Dkt. 5-13, 5-14, and 5-16 amount to definitive and final acknowledgments,
insulating them from alteration or repudiation in later proceedings. As a direct result, the Appellees cannot
introduce or argue contradictory facts, nor can they dismiss these stipulations as nonbinding. Moreover,
any attempt to deviate from those admissions risks summary rejection by the court, since an admission
conclusively establishes the admitted fact for all purposes. The upshot is that such recognized
concessions critically foreclose factual disputes on the admitted points, thereby shaping the litigation's
trajectory and imposing permanent legal consequences. This rule ensures accountability, preserving judicial
economy, underscoring impact of such admissions.


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    2. Judicial Admissions in the Bankruptcy Context: Adelphia Recovery Trust v. Goldman,

        Sachs & Company. The Second Circuit, in Adelphia Recovery Trust v. Goldman, Sachs

        & Company, 748 F.3d 110, I 16 (2d Cir. 2014), has specifically affirmed the binding effect

        of judicial admissions within the context of bankruptcy litigation, holding that in the

        bankruptcy context, judicial admissions are binding on the party making the admission.

        Adelphia Recovery Trust underscores the particular force and effect of judicial admissions

        in bankruptcy proceedings, emphasizing that such admissions are not lightly disregarded

        and serve to definitively establish factual matters before the Bankruptcy Court and any

        reviewing appellate tribunals.


D. Dkt. 296 Certification Order and Binding Judicial Admissions Establish Rule 3.3 and Rule
8.4 Violations.             ·

    1. Dkt. 296 Certification Order as Catalyst for Binding Judicial Admissions. The

        Bankruptcy Court's March 7, 2025, Judicial Certification Order, Dkt. 296 & 296A, issued

        pursuant to Rule 8009(d), now serve as the critical catalyst for transforming Appellees'

        factual stipulations in the Joint Stipulated Appellate Record into binding iudicial

        admissions directly governed by the legal principles articulated in Hoodho and Adelphia

        Recovery Trust. By stipulating to the veracity, and "accuracy and completeness" of the

        Joint Stipulated Appellate Record, (0kt. 5-13, 5-14, and 5-16) and by failing to timely and

        substantively challenge or oppose its certification before the Bankruptcy Court, Appellees

        have unequivocally and irrevocably conceded the veracity and completeness of the factual

        predicates contained therein.




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    2. Binding Judicial Admissions Unequivocally Establish Rule 3.3 and Rule 8.4

        Violations. When these now-binding judicial admissions, established through the

        Bankruptcy Court's Judicial Certification Order, 0kt. 296 & 296A, are directly juxtaposed

        with the demonstrably false, misleading, or materially incomplete factual assertions made

        by Appellee attorneys in prior filings before the Bankruptcy Court-Dkt. 5-3, Dkt. 5-4,

        Dkt. 5-5, and Dkt. 5-6, the ostensible and egregious violations of the District Court

        (NDGA), the State B~r of Georgia, and the ABA Model Rule 3.3 and Rule 8.4 become

        readily apparent and legally undeniable.

    3. The judicially certified Joint Stipulated Appellate Record, Dkt. 5, therefore, now serves as

        irrefutable prima facie evidence of Appellees' breaches of their mandatory duties of candor

        and ethical conduct before this Court.


V. CONCLUSION AND PRAYER FOR RELIEF

WHEREFORE, based on the foregoing factual record, applicable legal authority, Appellants'

repeated and unavailing attempts to resolve these matters informally with Appellees, and the

paramount interests of judicial integrity, efficiency, and economy, Appellants respectfully request

that this Court:


    1. Direct each Appellee attorney to submit forthwith a written sworn under the penalty of

        perjury certificate of compliance with the District Court (NDGA), State Bar of Georgia,

        and/or ABA Model Rule 3.3 and Rule 8.4 specifying whether that attorney stands by the

        factual assertions made in prior filings, including but not limited to Dkt. 5-2, Dkt. 5-3, Dkt.




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         5-4, Dkt. 5-5, Dkt. 5-6, Dkt. 5-13, Dkt. 5-14, Dkt. 5-15, and Dkt. 5-16, and if any

         misstatements were made, to correct them forthwith .

     2. Schedule an evidentiary hearing, if needed, to determine: (a) the scope and effect of any

         misrepresentations on the appellate record, (b) whether Appellants have incurred additional

         costs due to those misrepresentations, and (c) whether sanctions under 28 U.S .C. § 1927

         or the Court's inherent authority are warranted.

     3. Order that any further failures to correct material misstatements or to disclose known

         adverse facts or law shall result in appropriate sanctions, including possible referral to the

         State Bar of Georgia or other disciplinary bodies.

     4. Grant such other and further relief as this Court deems just, equitable, and proper under the

         circumstances.

     5. Set the briefing schedule for Appellants' opening brief due 40 days from the date that all

         Appellees have filed the Ordered sworn Rule 3.31814 certification with the Court.


 DATED: March 10, 2025

 Respectfully submitted,

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 Brooklyn, NY 11226
 (718) 844-1260
 utware007@gmail.com

 By: Isl Ulysses T. Ware
 Ulysses T. Ware, attorney in fact for the Appellants

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C. APPELLANTS' DECLARATION OF COMPLIANCE WITH
DKT. 2,, (m) OF THE STANDING ORDER IN CASE NO. 25-CV-
00613 (NOGA).
                                                                                         FILED IN CLERK'S OFFICE
                                                                                              U.S.D.C. - Atlanta


                                                                                             MAR 19 2025
                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF GEORGIA                               KEVIN p WE/MER Ci ,.
                                                                                       By:                   , er~
                                                                                                      Deputy Cieri<
                                     Case No. 25-cv-00613-MLB
                                                                                        ~-14--

Ulysses T. Ware and Group Management,

Appellants,

V.


Alpha Capital, AG, et al.,

Appellees.




I, Ulysses T. Ware, in my capacity as attorney in fact for Appellants Ulysses T. Ware and Group

Management ("Appellants"), hereby declare under penalty of perjury and pursuant to 28 U.S.C.

§ 1746, having personal knowledge of the facts:


     1. Introduction

             a) I make this Declaration to confirm Appellants' full compliance with paragraph (m)
                of the Standing Order (Dkt. 2) issued in Case No. 25-cv-006 I 3 (NDGA) (Hon.
                Michael L. Brown), which requires the parties to confer in good faith before seeking
                the Court's assistance in resolving disputes.

     2. Authority and Capacity




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            a) I am authorized, as attorney in fact, to act on behalf of Appellants in the above-
               referenced matter. All statements herein are based on my personal knowledge or
               upon records I maintain in the regular course of representing Appellants.

    3. Relevant Factual Background

            a) Commencement of Appeal: On or around February 3, 2025, Doc. 279, Appellants
               filed a Notice of Appeal from the United States Bankruptcy Court for the Northern
               District of Georgia in the underlying bankruptcy proceeding, Case No. 03-93031.
            b) Standing Order (Dkt. 2): Shortly thereafter, the District Court, 25cv00613
               (NDGA), entered its Standing Order governing this matter, including paragraph
               (m), which requires that parties "meet and confer" and make a good-faith effort to
               resolve or narrow disputes before filing motions or requesting judicial intervention.

    4. Meet-and-Confer Efforts

            a. Initial Communications: Between early February and early March 7, 2025 ,
               Appellants sent multiple email communications to Appellees' counsel in an effort
               to coordinate on record-designation matters (pursuant to Fed. R. Bankr. P. 8009)
               and to address any factual or legal disagreements relevant to the forthcoming
               appellate proceedings.
            b. Final "Meet-and-Confer" Notice (March 7, 2025): In accordance with the
               Standing Order's meet-and-confer requirement, on March 7, 2025, I transmitted a
               detailed, written communication entitled "IMMEDIATE NOTICE: Appellants'
               Rule 9011 Sanctions Motion and Show Cause Order Forthcoming - Final
               Opportunity to Meet and Confer Regarding Certified Appellate Record." A true and
               correct copy of that letter/email was duly served on Appellees and their counsel via
               electronic mail.
            c. Content of the March 7, 2025, Notice:
                    1. The notice reiterated Appellants ' position and enumerated the factual and
                        legal grounds for the anticipated motion.
                   11. It expressly demanded that Appellees provide any good-faith opposition
                        basis or factual clarifications by a specified deadline, thus creating an
                        opportunity to resolve or narrow the dispute without Court intervention.
                  m. It advised that, absent a good-faith response, Appellants would proceed with
                        filing a comprehensive motion for sanctions in the District Court.
            d. Responses from Appellees (or Lack Thereof):
                    1. As of the date of this Declaration, Appellees have not provided any
                        substantive or good-faith response addressing the issues raised in the
                        March 7 notice and remain in default of the meet-and-confer requirement.
                   11 . Appellants have received no written opposition that identifies any
                        legitimate good faith, non-frivolous factual, or legal justification opposing
                        the relief Appellants intend to seek.



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   5. Appellants' Good-Faith Compliance

            a. Appellants have meticulously complied with paragraph (m) of the Court's Standing
               Order (Dkt. 2) by:
                    1. Formal_ly notifying all counsel of record of the specific issues and proposed
                        relief;
                   11. Offering ample time and opportunity for Appellees to respond, clarify, or
                        engage in dialogue to resolve or narrow disputes;
                  111 . Attempting resolution at each stage regarding the legitimacy and
                        enforceability of the contested claims, as well as the integrity of the
                        appellate record.
            b. Despite these efforts, Appellants have received no meaningful or good-faith
               rebuttal from Appellees. Accordingly, there is no alternative but to seek the Court's
               intervention at this juncture.

    6. Certification

            a) By virtue of the facts enumerated herein and consistent with the requirement of
               paragraph (m) in the Standing Order (Dkt. 2), I certify that Appellants have made
               every reasonable effort to meet and confer with opposing counsel to address and
               possibly resolve the matters in contention prior to requesting judicial relief.

    7. Conclusion

            a) Based on the _foregoing, Appellants respectfully submit that they have fully
               complied with all meet-and-confer obligations mandated by the District Court,
               thereby satisfying the prerequisites set forth in Dkt. 2, ,r (m), before seeking judicial
               relief or sanctions.

I, Ulysses T. Ware, declare under penalty of perjury pursuant to 28 USC §1746, having personal

knowledge of the facts , this 10th day of March 2025 , in Brooklyn, NY that the foregoing is true

and correct to the best of my knowledge.

c«~;;, vv~
£~;e&' March 10, 2025

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Isl Ulysses T. Ware
Attorney in Fact for Appellants

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D.      Appellants' Proposed Show Cause Order.
                           UNITED STATES DISTRICT COURT
 ccE\\JE0 \t-1 CLERK'WJftiHE NORTHERN DISTRICT OF GEORGIA
~c:.   u.s.o.c. · /\tlanta       ATLANTA DIVISION
~     ~~R \ 9 1015
                                Case No. 25-cv-00613-MLB


In re:
Group Management Corp.,
Debtor, 03-93031 (BC NDGA)



Ulysses T. Ware and Group- Management,
Appellants,

V.

Alpha Capital, AG; Stonestreet L.P.;
Markham Holdings, L.P.; Amro International, S.A.;
Kilpatrick Townsend & Stockton, LLP;
Dennis S. Meir, Esq.; John W. Mills III, Esq.;
J. Henry Walker, IV, Esq.; Wah Kadaba, Esq.;
Kenneth A. Zitter, Esq.; Arie Rabinowitz, Esq.;
Office of the U.S. Trustee, Region 21;
James H. Morawetz, Esq.;
(and all other Appellees who are attorneys practicing
or appearing in the Northern District of Georgia),
Appellees.



APPELLANTS' PROPOSED ORDER DIRECTING APPELLEES TO SHOW
CAUSE WHY SANCTIONS SHOULD NOT BE IMPOSED FOR
VIOLATIONS OF RULES 3.3 AND 8.4 OF THE RULES OF
PROFESSIONAL CONDUCT.




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        Upon review of Appellants ' submissions outlining alleged violations of Rules 3.3 (Candor

Toward the Tribunal) and 8.4 (Misconduct) of the State Bar of Georgia's Rules of Professional

Conduct, as adopted in this District, and good cause appearing, this Court finds it necessary to

issue a show cause order to certain Appellees who are attorneys admitted to or practicing before

the Northern District of Georgia.


Accordingly, IT IS HEREBY ORDERED :

    1. SHOW CAUSE HEARING AND RESPONSE DEADLINE.

        (a) No later than _ _ , March 2025 (the "Show Cause Deadline"), each Appellee named

        below (or any attomey-Appellee subject to the District Court's disciplinary authority under

        LR 83 and/or the State Bar of Georgia's Rules of Professional Conduct) shall file a written

        SWORN response to this Order, demonstrating why he or she should not be sanctioned

        under this Court's inherent powers and pursuant to the State Bar of Georgia's Rules of

        Professional Conduct 3.3 and 8.4, for failing to disclose or correct material

        misrepresentations about unregistered broker-dealer status, convertible note enforceability,

        and related matters in connection with the underlying bankruptcy proceedings.



        (b) The Court will set a hearing date, if necessary, by separate notice.

    2. APPELLEES SUBJECT TO THIS ORDER.

        This Show Cause Order applies to :

            a) Kilpatrick Townsend & Stockton, LLP;

            b) All individual attorneys affiliated therewith who appeared or participated in the

                underlying bankruptcy case or this appeal (including, but not limited to, Dennis S.

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                Meir, Esq.; John W . Mills III, Esq.; J. Henry Walker, IV, Esq.; Wab Kadaba, Esq.;

                and any other ~TS attorneys materially involved);

            c) The Office of the U.S. Trustee, Region 21 , and all attorneys therein who signed or

                filed pleadings, including but not limited to James H. Morawetz, Esq.;

            d) Any other Appellee-attomeys who, by virtue of admission and appearance, are

                subject to this Court's jurisdiction and the State Bar of Georgia's Rules of

                 Professional Conduct.


    3. SCOPE OF THE SHOW CAUSE INQUIRY.

        Each attorney or entity named in Paragraph 2 shall address, inter alia:

            a) Whether they, jointly and/or severally, knowingly, recklessly, in bad faith, or

                negligently misrepresented and/or deliberately omitted material facts or law

                concerning the· unregistered broker-dealer status of Appellees, the plaintiffs named

                in the 02cv22 19 (SDNY) litigation, cf., Dkt. 5-2, as required under 15 U.S.C. §

                78o(a)(l) and the alleged void nature of the predatory criminal usury convertible

                promissory notes, GX 1-4;

            b) Whether they violated Rule 3.3 of the Georgia Rules of Professional Conduct by

                fai ling to correct false statements or by making material misrepresentations to the

                Bankruptcy Court, this District Court, or both made in Dkt. 5-2, 5-3 , 5-4, 5-5, and

                5-6;

            c) Whether they engaged in conduct involving dishonesty, fraud, deceit, or

                misrepresentation , or conduct prejudicial to the administration of justice, contrary

                to Rule 8.4----=-specifically in regard to OCGA 33-3-28(a)(l), (2), and Rule


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                26(a)(l)(A)(iv) insurance disclosures, and other matters regarding GX 1-4, and GX

                5, lawfulness, enforceability, collectability, and validity.


    4. POTENTIAL SANCTIONS

        If any attorney or firm fails to demonstrate good cause for the challenged conduct, this

        Court shall and will impose appropriate sanctions, up to and including monetary

        sanctions, referral to the District's disciplinary committee, or such other measures as the

        Court deems just.

    5. SERVICE OF THIS .ORDER

        The Clerk of Court shall serve a copy of this Order on all Appellees that are lawyers, and

        counsel of record in this matter, as well as on each attorney identified in Dkt. 281 (03-

        93031 ), via the Court' s ECF system or, where necessary, by U.S. mail.

    6. CONTINUING JURISDICTION

        The Court retains jurisdiction to modify the terms of this Order, schedule additional

        proceedings, and impose disciplinary measures as appropriate.


IT IS SO ORDERED.

Dated: - - -- - - - -, 2025.




HON. MICHAEL L. BROWN
United States District Judge
Northern District of Georgia




                                            End of Order

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utware007@gmail.com

By: /s/ Ulysses T. Ware for the Appellants




                                         Certificate of Service

I, Ulysses T. Ware, attorney in fact for the Appellants, hereby certify under penalty of perjury that

on this 10th day of March 2025, I caused to be served a true and correct copy of the foregoing

Appellants' Request for a Show Cause Order, Request for an Appellate Status Conference, and

Briefing Schedule via electronic mail to all Appellees.


/s/ Ulysses T. Ware

Ulysses T. Ware

~~9-w~

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